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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,                                  Case. No. 2:13-CR-20892-005
 v.                                                Honorable George Caram Steeh

 MOHAMMAD RAFIQ,

      Defendant
 ______________________________________/

                                  STIPULATION


       The parties stipulate to a two-week adjournment of the presentence report

 objection due date, to August 21, 2015.   The United States Probation Department

 has no objection to this adjournment.



 STIPULATED BY:


 Elizabeth Young                                   Anjali Prasad (P58555)
 Trial Attorney, Criminal Division                 Flood Law PLLC
 U.S. Department of Justice (Fraud Section)        401 North Main Street
 1400 New York Avenue, NW                          Royal Oak, MI 48067
 Washington, DC 20005                              Attorney for Defendant
 Elizabeth.young@usdoj.gov                         aprasad@floodlaw.com




 Dated: July 31, 2015
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       IT IS SO ORDERED.



                              s/George Caram Steeh
                              Honorable George Caram Steeh
                              United States District Judge




 Entered:   August 3, 2015
